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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CATHERINE ALEXANDER,            )
                                 )
                  Plaintiff,     )
                                 )
 vs.                             )              Case No. 18-cv-966-SMY
                                 )
 TAKE-TWO INTERACTIVE            )
 SOFTWARE, INC. 2K GAMES, INC.,  )
 2K SPORTS INC., WORLD WRESTLING )
 ENTERTAINMENT, INC., VISUAL     )
 CONCEPTS ENTERTAINMENT,         )
 YUKE'S CO., LTD, YUKES LA INC., )
                                 )
                  Defendants.    )
                                 )

                AMENDED JUDGMENT IN A CIVIL ACTION

      IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Order dated

March 18, 2020 (Doc. 176), Plaintiff Catherine Alexander’s claims against Defendants

Yuke's Co., Ltd. and Yukes LA, Inc. were DISMISSED for lack of personal

jurisdiction.

      This case was tried by a jury and the jury rendered a verdict on September 30,

2022, in favor of Plaintiff and against Defendants 2K Games, Inc., 2K Sports Inc., Take-

Two Interactive Software, Inc., Visual Concepts Entertainment, and World Wrestling

Entertainment, Inc. (Doc. 298). Judgment was entered in favor of Plaintiff in the amount

of $3,750.00 and against Defendants 2K Games, Inc., 2K Sports Inc., Take-Two

Interactive Software, Inc., Visual Concepts Entertainment, and World Wrestling

Entertainment, Inc.
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      IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to Federal Rule

of Civil Procedure 50, Defendants’ motion for judgment as a matter of law as to

Plaintiff’s damages award is GRANTED (Doc. 321).

DATED: September 25, 2024
                                     MONICA STUMP, Clerk of Court

                                     By: s/ Stacie Hurst, Deputy Clerk

Approved:




            STACI M. YANDLE
            UNITED STATES DISTRICT JUDGE
